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           IN THE UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                        Plaintiff,

     Vs.                                        No. 04-40001-02-SAC


FELIPE BEDOLLA-IZAZAGA,

                        Defendant.


                       MEMORANDUM AND ORDER

            This case is before the court on the defendant's petition for writ

of audita querala. (Dk. 389). The jury convicted the defendant of eight

drug-related offenses committed in 2003 and 2005, and in June of 2006,

the court sentenced him to 360-months’ imprisonment on four counts, 48

months on three counts, and 240 months on one count, with all terms to

run concurrently. (Dk. 333). The defendant took no direct appeal but filed

a motion to vacate under 28 U.S.C. § 2255. (Dk. 346). The court denied

the § 2255 motion. (Dk. 365). The defendant then sought to reopen the §

2255 proceedings to have the court address certain issues, including the

legality of his sentence and the sentencing proceedings in light of Blakely

v. Washington, 542 U.S. 296 (2004), and United States v. Booker, 543 U.S.
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220 (2005). On April 15, 2010, the court filed an order that treated the

motion as an unauthorized second or successive § 2255 motion and that

transferred it to the Tenth Circuit Court of Appeals pursuant to 28 U.S.C. §

1631. (Dk. 386). In June of 2010, the Tenth Circuit denied the defendant’s

motion for not meeting the requirements of § 2255(h). (Dk. 388).

           The defendant’s pending petition for writ of audita querala is his

latest attempt at post-conviction relief. The defendant premises his petition

on the argument that the sentencing court violated Booker in sentencing

him on the basis of d-methamphetamine when it was never proved to or

decided by the jury whether the more severely punishable d-

methamphetamine or the less severely punishable l-methamphetamine

was involved in the offenses of conviction. The defendant begins his

argument by noting that the United States Sentencing Guidelines effective

in October of 1987 distinguished between these types of

methamphetamine in the drug quantity tables. The defendant further

contends that because the guidelines were mandatory when he was

sentenced, this is a change in the law that provides him a new legal

defense.

           The defendant’s premise and arguments are devoid of merit.


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When the defendant was sentenced in 2005, the distinction between d- and

l-methamphetamine no longer existed, for as of November 1, 1995,

Amendment 518 to the sentencing guidelines had deleted the distinction

between d-methamphetamine and l-methamphetamine. See United States

v. Svacina, 137 F.3d 1179, 1186 (10th Cir. 1998). Thus, the

characterization of the type of methamphetamine had no effect on the

calculation of the defendant’s sentence under the Sentencing Guidelines.

Moreover, the defendant was sentenced in June of 2006, more than a year

after the Booker decision, and the sentencing court complied with Booker

in treating the sentencing guidelines as merely advisory. There is no

factual or legal merit to the defendant’s arguments.

            “[A] writ of audita querela is used to challenge a judgment that

was correct at the time rendered but which is rendered infirm by matters

which arise after its rendition.” United States v. Torres, 282 F.3d 1241,

1245 n. 6 (10th Cir. 2002) (citations and internal quotation marks omitted).

“[A] writ of audita querela is not available to a petitioner when other

remedies exist, such as a motion to vacate sentence under 28 U.S.C. §

2255.” United States v. Torres, 282 F.3d at 1245 (citations and internal

quotation marks omitted). “‘A prisoner may not circumvent valid


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congressional limitations on collateral attacks by asserting that those very

limitations create a gap in the postconviction remedies that must be filled

by the common law writs.’” United States v. Muldrow, 2010 WL 1707994 at

*1 (10th Cir. Apr. 28, 2010) (quoting United States v. Valdez-Pacheco, 237

F.3d 1077, 1080 (9th Cir. 2001)). In other words, that the movant “is

precluded from filing a second § 2255 petition does not establish that the

remedy in § 2255 is inadequate.” Caravalho v. Pugh, 177 F.3d 1177, 1179

(10th Cir. 1999). A movant cannot evade the procedural restraints on

successive § 2255 petitions “by simply styling a petition under a different

name.” Torres, 282 F.3d at 1246 (citations omitted).

            The defendant’s petition for writ of audita querela does not

attack the integrity of any § 2255 proceedings. His baseless sentencing

challenge could have been raised in a direct appeal or in his § 2255

motion. Sentenced after Booker, the defendant could have made this

same argument at sentencing, on appeal, and in the § 2255 proceeding.

For the reasons stated above, the defendant’s arguments advance no

cognizable constitutional challenge, and if they did, then they must be

pursued under § 2255. See United States v. McIntyre, 313 Fed. Appx.

160, 162 (10th Cir. Feb. 23. 2009). For this reason, there is no gap in the


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post-conviction remedies to justify use of the writ.

            IT IS THEREFORE ORDERED that the defendant’s petition for

writ of error audita querela (Dk. 389) is denied.

            Dated this 29th day of September, 2010, Topeka, Kansas.



                              s/ Sam A. Crow
                              Sam A. Crow, U.S. District Senior Judge




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